Case 0:24-cv-60863-AHS Document 144-2 Entered on FLSD Docket 03/27/2025 Page 1 of 9




                                      Exhibit 2
2024/5/8 10:41                               Case4Pack
                                Amazon.com: Abnaok 0:24-cv-60863-AHS              Document
                                                       Shelling Tools for Beach Include Sand Sifter144-2      Entered
                                                                                                   with Extra Long        onHandle,
                                                                                                                   Adjustable FLSD2PCS
                                                                                                                                    Docket    03/27/2025
                                                                                                                                       Shell Bags              Page
                                                                                                                                                  and Beach Mesh Shovel,2Sand
                                                                                                                                                                          of 9Scoop for Girls Boys Collecting Shells…
                     Deliver to
  Skip to main content                                          beach toys with shell
                                                                                                                                                                                                                                                                                             Hello, sign in    Returns       0
                     Alexandria 22333‌      Toys & Games                                                                                                                                                                                                                             EN      Account & Lists   & Orders          Cart


    All   Medical Care     Groceries      Best Sellers       Amazon Basics     Music     New Releases    Prime        Customer Service      Today's Deals   Amazon Home          Registry   Books    Pharmacy      Gift Cards       Smart Home    Luxury Stores     Fashion      Sell        Celebrate National Small Business Month

   Toys & Games   Kids Gift Guide   Shop Toys by Character     Shop Best Selling Toys   Shop Newly Released Toys     Shop Amazon Exclusive Toys   Shop Toy Deals    Create a Gift List




                                       Toys & Games › Sports & Outdoor Play › Sandboxes & Beach Toys › Beach Toys


                                                                                                                                                            Abnaok 4Pack Shelling Tools for Beach Include
                                                                                                                                                            Sand Sifter with Extra Long Adjustable Handle,                                              Enjoy fast, free delivery,
                                                                                                                                                            2PCS Shell Bags and Beach Mesh Shovel, Sand                                                 exclusive deals, and award-
                                                                                                                                                                                                                                                        winning movies & TV shows
                                                                                                                                                            Scoop for Girls Boys Collecting Shells Beach                                                with Prime
                                                                                                                                                                                                                                                        Try Prime and start saving today
                                                                                                                                                            Toys                                                                                        with fast, free delivery
                                                                                                                                                            Visit the Abnaok Store
                                                                                                                                                            Search this page
                                                                                                                                                                                                                                                         $
                                                                                                                                                                                                                                                             1999
                                                                                                                                                            $
                                                                                                                                                                1999                                                                                     Get Fast, Free Shipping with
                                                                                                                                                            Get Fast, Free Shipping with Amazon Prime                                                    Amazon Prime
                                                                                                                                                            FREE Returns                                                                                 FREE Returns

                                                                                                                                                             Coupon:            Apply 5% coupon Shop items        | Terms                                FREE delivery Wednesday, May
                                                                                                                                                            Apply now and get a $10 Amazon Gift Card upon approval of the Amazon Store Card,
                                                                                                                                                                                                                                                         15 on orders shipped by
                                        VIDEO                                                                                                                                                                                                            Amazon over $35
                                                                                                                                                            or see if you pre-qualify with no impact to your credit bureau score.
                                                                                                                                                                                                                                                              Deliver to Alexandria 22333‌
                                                                                                                                                                Shelling Tools for Beach：Abnaok 4Pack shelling tools for beach include 1X
                                                                                                                                                                sand sifter with extra long adjustable handle, 2X mesh beach bag with zipper             Only 3 left in stock - order
                                                                                                                                                                and 1X stainless steel beach mesh shovel, a total of 4 pieces of beach shelling          soon.
                                                                                                                                                                tools; This is a nice combination for your beach vacation.
                                                                                                                                                                Durable Material: The beach shell scooper is made from stainless steel, with             Quantity:
                                                                                                                                                                                                                                                          1Quantity: 1
                                                                                                                                                                an adjustable handle that extends from 18 to 30 inches, it's suitable for both
                                                                                                                                                                kids and adults. The sand shovels for kids are made of high quality stainless                         Add to Cart
                                                                                                                                                                steel, with smooth and round plastic handles, fine and smooth mesh. The
                                                                                                                                                                beach bag for kids is made of high quality Oxford cloth, wear-resistant and                                Buy Now
                                                                                                                                                                not easy to break. the bearing capacity is strong and not easy to break.
                                                                                                                                                                Say Goodbye to Bend Your Back to Pick up Shells: with this sand sifter for the           Ships from Amazon
                                                                                                                                                                                                                                                         Sold by    Abnaok
                                                                                        Roll over image to zoom in                                              beach with extra long handle, you can collect seashells, shark teeth, fossils
                                                                                                                                                                                                                                                         Returns      Eligible for Return,
                                                                                                                                                                (not included) hidden in the sand easily, no need to bend your back to pick up                        Refund or Replacement
                                                                                                                                                                the things you want, and say goodbye to back pain.                                                    within 30 days of receipt
                                                                                                                                                                Gifts for Beach Collection Lovers: Abnaok mesh filter sand scoop and mesh                Payment      Secure transaction

                                                                                                                                                                bag are practical gifts for your girls and boys, especially when the summer
                                                                                                                                                                                                                                                              Add a gift receipt for easy
                                                                                                                                                                vocation is coming, and you kids will be very happy to receive these useful
                                                                                                                                                                                                                                                              returns
                                                                                                                                                                beach tools, which can provide them with much more convenience while
                                                                                                                                                                collecting shells.
                                                                                                                                                                Wide Application : Abnaok shelling tools for beach is suitable for your kids to              Add to List
                                                                                                                                                                play, whether on summer beach, water pool, beach BBQ, beach party,
                                                                                                                                                                aquarium and so on，not only can be used for collecting various shells, but
                                                                                                                                                                they're also perfect for picking up sea glass and shark teeth.

                                                                                                                                                                   Report an issue with this product or seller

                                                                                                                                                                             Hard Rock apparel
                                                                                                                                                                             Outerwear, tees, and accessories. Discover the rock shop.




                                       4 stars and above                                                                                                                                                                                                                             Page 1 of 54
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https://www.amazon.com/Abnaok-Shelling-Include-Adjustable-Collecting/dp/B0CZCP2F5C/ref=sr_1_537?crid=2IBRXKO74BQN4&dib=eyJ2IjoiMSJ9.4iZnH6MW4csXtSwnufVjqjBnovzYXfuCPb1KfednkUeh6AM2aMx…                                                                                                                                           1/8
2024/5/8 10:41                   Case4Pack
                    Amazon.com: Abnaok 0:24-cv-60863-AHS              Document
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                                                                                                                           Shell Bags              Page
                                                                                                                                      and Beach Mesh Shovel,3Sand
                                                                                                                                                              of 9Scoop for Girls Boys Collecting Shells…




                                    Elovien Beach Sand Toys     Kids Toys - Outdoor            MarcZero 11Pcs Silicone        Frisbees for Kids - Fun             Reusable Water                IOKUKI Long Shovels           Sand Dipper Full Size
                                    Set, 24PCS Sandbox Toys     Games for Kids, Toss and       Beach Toys,Modern Baby         Beach Toys for Kids 3-10            Balloons, Pool Toys           Sand Toys Tool with           Beach Scoop Shovel &
                                    with Mesh Backpack Bag      Catch Ball Set with 6          Beach Toys,Travel              Top Summer Gifts for                Beach Toys, Summer            Mesh Bag Including Bath       Sifter Tool for
                                    Included 2 F...             Paddles 3 Balls,...            Friendly Beach Set...          Boys Age 4-7 ...                    Water Toys, Refillable…       Boat, Castle Buildi...        Beachcombing –…
                                    4.7             399         4.5                436         4.6             105            4.5               21,700            4.8              232          4.2               371         4.6              548
                                    200+ bought in past month   100+ bought in past month      300+ bought in past month      600+ bought in past month           $   1599 ($4.00/Count)        500+ bought in past month     50+ bought in past month
                                    $   2199                    $   2599                        15% off    Ends in 02:13:04   $   1499                                                          $   2699                      $   5499
                                                                                               $   2124                                                           Save 10% with coupon
                                    Save 10% with coupon                                                                      Save 10% with coupon (some                                         Save 5% with coupon          Save 5% with coupon (some
                                                                                               List: $24.99
                                                                                                                              sizes/colors)                                                                                   sizes/colors)



                        Products related to this item                                                                                                                                                                                                     Page 1 of 58
                        Sponsored




                                    POILKMNI 2 Pieces Shark     MBJZSL 6pcs Shelling           YEXEXINM 3 Pack Sand           MarcZero 11Pcs Silicone             Reusable Water                Frisbees for Kids - Fun       SOPPYCID 15Pcs
                                    Tooth Sifter with           Tools for Beach, Shark         Sifter Tools - Beach           Beach Toys,Modern Baby              Balloons, Pool Toys           Beach Toys for Kids 3-10      Reusable Water
                                    Seashell Bags, Beach        Tooth Sifter, Sand Sifter      Scoop for Beachcombing         Beach Toys,Travel                   Beach Toys, Summer            Top Summer Gifts for          Balloons, Reusable
                                    Sand Sifter, Sand Sc...     with Long Adj...               Shell & Rock，Shark...          Friendly Beach Set...               Water Toys, Refillable…       Boys Age 4-7 ...              Water Balls For Kids,…
                                    4.9               9         4.4              20            3.4               11           4.6             105                 4.8              232          4.5               21,700      4.9              33
                                    400+ bought in past month   100+ bought in past month      $   1799 ($6.00/Count)         700+ bought in past month           $   1599 ($4.00/Count)        600+ bought in past month     $   3599 ($2.40/Count)
                                     #1 New Release             $   2735                                                       15% off        Ends in 02:13:04                                  $   1499
                                    $   2199                                                                                  $   2124                            Save 10% with coupon                                        Save 35% with coupon
                                                                Save 5% with coupon                                                                                                              Save 10% with coupon (some
                                                                                                                              List: $24.99
                                    Save 5% with coupon                                                                                                                                         sizes/colors)




                        Product information


                            Product Dimensions                                    2 x 3 x 2 inches                                                   Warranty & Support

                            Item Weight                                           12 ounces                                                          Product Warranty: For warranty information about this product, please click here

                            Country of Origin                                     China                                                              Feedback
                            ASIN                                                  B0CZCP2F5C                                                         Would you like to tell us about a lower price?

                            Item model number                                     beach sand sifter shovel

                            Manufacturer recommended age                          36 months - 12 years

                            Manufacturer                                          Abnaok




                        Important information
                            Safety Information
                            no



                        Product Description
https://www.amazon.com/Abnaok-Shelling-Include-Adjustable-Collecting/dp/B0CZCP2F5C/ref=sr_1_537?crid=2IBRXKO74BQN4&dib=eyJ2IjoiMSJ9.4iZnH6MW4csXtSwnufVjqjBnovzYXfuCPb1KfednkUeh6AM2aMx…                                                                                 2/8
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                    Amazon.com: Abnaok 0:24-cv-60863-AHS              Document
                                           Shelling Tools for Beach Include
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                                                                                                                           Shell Bags              Page
                                                                                                                                      and Beach Mesh Shovel,4Sand
                                                                                                                                                              of 9Scoop for Girls Boys Collecting Shells…


                                                                            Summer Holiday Is Coming! Are you ready?



                                                                                 Abnaok 4Pack Shelling Tools for Beach




                            Keeping Your Collected Items Secure


                            Stainless Steel Beach Mesh Shovel
                            Designed with convenience in mind, this beach mesh shovel is lightweight and easy to
                            carry, making it ideal for children and adults alike. The sturdy handle provides a
                            comfortable grip, allowing for effortless digging and scooping. Its compact design
                            also makes it a breeze to pack and transport, fitting perfectly into your beach bag or
                            car trunk.




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2024/5/8 10:41                   Case4Pack
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                                                                                                                                      and Beach Mesh Shovel,5Sand
                                                                                                                                                              of 9Scoop for Girls Boys Collecting Shells…




                                      Adjustable Length, No Need to Bend Down, Easy and Convenient to
                                      Use !




                                                                                           Easy to Use Abnaok Sand Sifter




                              1                                               2                                         3                                           4
                              Take Out the Product.                           In Line with the Lower Tie Hole, Rotate   Pull Rod Down to the Right to Stretch the   Succeed !
                                                                              Clockwise.                                Appropriate Position to the Left to Lock.




https://www.amazon.com/Abnaok-Shelling-Include-Adjustable-Collecting/dp/B0CZCP2F5C/ref=sr_1_537?crid=2IBRXKO74BQN4&dib=eyJ2IjoiMSJ9.4iZnH6MW4csXtSwnufVjqjBnovzYXfuCPb1KfednkUeh6AM2aMx…              4/8
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                                     Gifts for Beach Collection Lovers


                                     Shelling Tools for Beach
                                     Abnaok mesh filter sand scoop and mesh bag are practical gifts for your girls and
                                     boys, especially when the summer vocation is coming, and you kids will be very
                                     happy to receive these useful beach tools, which can provide them with much
                                     more convenience while collecting shells.




                        Deals on related products                                                                                                                                                                                                       Page 1 of 3




                                    Sponsored                            Sponsored                    Sponsored                    Sponsored                    Sponsored                    Sponsored                    Sponsored

                                    MarcZero 11Pcs Silicone              Qrooper Kids Toys Toss       DAIKOYE Beach Toy            Duckura Outdoor Indoor       Ayeboovi Toss and Catch      Top Race 6 Pack of 5         JOYIN 2 Kids Bubble Gun
                                    Beach Toys,Modern Baby               and Catch Game Set -         Mesh Beach Bags - Kids       Game Activities for Kids,    Ball Game Outdoor Toys       Beach Pails Sand Buckets     with 2 Bottles Bubble
                                    Beach Toys,Travel                    Beach Toys Pool Toys         Shell Collecting Bags        Pop-Pass-Catch Ball          for Kids Yard Games          and Shovels Toy | Pool       Refill Solution, Bubble
                                    Friendly Beach Set...                Outdoor Toys for K...        Sand Toy Totes with ...      Game with 4 Ca...            Beach Pool Toys ...          and Swim Toys ...            Guns Kids 4-8...
                                    4.6             105                  4.6             1,813        4.5               616        4.4              3,371       4.6             3,908        4.4              4,112       4.3               12,439
                                    300+ bought in past month            1K+ bought in past month     300+ bought in past month    1K+ bought in past month     400+ bought in past month    300+ bought in past month    8K+ bought in past month

                                     15% off    Ends in 02:13:03                       Limited time                 Limited time                 Limited time                 Limited time                 Limited time                 Limited time
                                                                          10% off                      10% off                      21% off                      37% off                      29% off                      14% off
                                                                                       deal                         deal                         deal                         deal                         deal                         deal
                                    $   2124                             $   25   19                  $   8   99                   $   11   89                  $   18   89                  $   12   05                  $   18   99
                                    List: $24.99
                                                                         List: $27.99                 List: $9.99                  List: $14.99                 List: $29.99                 List: $17.09                 List: $21.99



                        What's in the box
                              beach scoop shovel


                        Related products with free delivery on eligible orders                                                                                                                                                                         Page 1 of 58
                        Sponsored   | Try Prime for unlimited fast, free shipping




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                                                                                                                           Shell Bags              Page
                                                                                                                                      and Beach Mesh Shovel,7Sand
                                                                                                                                                              of 9Scoop for Girls Boys Collecting Shells…




                                     3Pcs Shelling Tools for            NINAOR Collapsible           Hungdao 14 Pcs Silicone        POILKMNI 2 Pieces Shark      MBJZSL 6pcs Shelling            Frisbees for Kids - Fun         YEXEXINM 3 Pack Sand
                                     Beach Include Beach                Beach Toys with Beach        Beach Toys Travel Beach        Tooth Sifter with            Tools for Beach, Shark          Beach Toys for Kids 3-10        Sifter Tools - Beach
                                     Mesh Shovel, Sand Sifter           Bag, 11 Pcs Collapsible      Set Silicone Sand Toys         Seashell Bags, Beach         Tooth Sifter, Sand Sifter       Top Summer Gifts for            Scoop for Beachcombing
                                     with Extra Lon...                  Bucket Rake Shovel...        Include 2 Si...                Sand Sifter, Sand Sc...      with Long Adj...                Boys Age 4-7 ...                Shell & Rock，Shark...
                                     4.5               2                $
                                                                            2699                     4.7              20            4.9               9          4.4              20             4.5               21,700        3.4               11
                                     $   1799                                                        100+ bought in past month      400+ bought in past month    100+ bought in past month       600+ bought in past month       $   1799 ($6.00/Count)
                                                                        Save 30% with coupon
                                                                                                     $
                                                                                                         3599                        #1 New Release              $
                                                                                                                                                                     2735                        $
                                                                                                                                                                                                     1499
                                                                                                                                    $
                                                                                                                                        2199
                                                                                                                                                                  Save 5% with coupon             Save 10% with coupon (some

                                                                                                                                     Save 5% with coupon                                         sizes/colors)




                        Videos
                                Videos for this product




                                                                               1:01
                                    Abnaok 4Pack Shelling Tools for Beach
                                    Abnaok




                          Upload your video



                        Similar brands on Amazon                                                                                                                                                                                                          Page 1 of 2
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                                           Activ Life                                                             Axirata                                                               QLT QIAOLETONG
                                           Shop the Store on Amazon ›                                             Shop the Store on Amazon ›                                            Shop the Store on Amazon ›




                                                            Activ Life Kid’s Flying Rings [2 Pack] They                            Axirata Amphibious RC Car with Lights for                                QLT Beach Toys for Toddlers - Kids Sand
                                                            Fly Straight & Don’t Hurt! 80% Lighter…                                Kids 3-12 Year Old Boys Toy Gesture Ha…                                  Toys Include Train Beach Truck, Beach…
                                                                           21,700                                                               227                                                                      133
                                                            $16.99                                                                 $39.99                                                                   $17.99




                        Looking for specific info?

https://www.amazon.com/Abnaok-Shelling-Include-Adjustable-Collecting/dp/B0CZCP2F5C/ref=sr_1_537?crid=2IBRXKO74BQN4&dib=eyJ2IjoiMSJ9.4iZnH6MW4csXtSwnufVjqjBnovzYXfuCPb1KfednkUeh6AM2aMx…                                                                                6/8
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                                                                                                                                                              of 9Scoop for Girls Boys Collecting Shells…
                             Search in reviews, Q&A...




                        Customer reviews                                                      No customer reviews

                        5 star                                  0%

                        4 star                                  0%

                        3 star                                  0%

                        2 star                                  0%

                        1 star                                  0%

                          How customer reviews and ratings work




                        Review this product
                        Share your thoughts with other customers

                                    Write a customer review




                                                                                                                                 Back to top




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                                                              Newsletter
                                                                                                      Supply to Amazon                       Amazon Secured Card                            Shipping Rates &
                                                              About Amazon                                                                                                                  Policies
                                                                                                      Protect & Build Your                   Amazon Business Card
                                                              Accessibility                           Brand                                                                                 Amazon Prime
                                                                                                                                             Shop with Points
                                                              Sustainability                          Become an Affiliate                                                                   Returns &
                                                                                                                                             Credit Card Marketplace                        Replacements
                                                              Press Center                            Become a Delivery Driver
                                                                                                                                             Reload Your Balance                            Manage Your
                                                              Investor Relations                      Start a Package Delivery                                                              Content and Devices
                                                                                                      Business                               Gift Cards
                                                              Amazon Devices                                                                                                                Recalls and Product
                                                                                                      Advertise Your Products                Amazon Currency Converter
                                                              Amazon Science                                                                                                                Safety Alerts
                                                                                                      Self-Publish with Us                                                                  Help
                                                                                                      Become an Amazon Hub
                                                                                                      Partner
                                                                                                      › See More Ways to Make
                                                                                                      Money




                                                                                                                                   English                United States




                                                              Amazon Music         Amazon Ads              6pm                   AbeBooks                 ACX             Sell on               Amazon Business
                                                              Stream               Reach customers         Score deals           Books, art               Audiobook       Amazon                Everything For
                                                              millions             wherever they           on fashion brands     & collectibles           Publishing      Start a Selling       Your Business
                                                              of songs             spend their time                                                       Made Easy       Account




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                                                 Groceries &     Ship Orders                Experienced Pros                 Services                 Listen to Books &          Mojo         Book reviews
                                                 More            Internationally            Happiness Guarantee              Scalable Cloud           Original                   Find Movie   &
                                                 Right To Your                                                               Computing                Audio                      Box Office   recommendations
                                                 Door                                                                        Services                 Performances               Data

                                                 IMDb            IMDbPro                    Kindle Direct Publishing         Amazon Photos            Prime Video Direct         Shopbop      Amazon
                                                 Movies, TV      Get Info                   Indie Digital & Print            Unlimited Photo          Video Distribution         Designer     Warehouse
                                                 & Celebrities   Entertainment              Publishing                       Storage                  Made Easy                  Fashion      Great Deals on
                                                                 Professionals              Made Easy                        Free With Prime                                     Brands       Quality Used
                                                                 Need                                                                                                                         Products

                                                 Whole Foods     Woot!                      Zappos                           Ring                     eero WiFi                  Blink        Neighbors App
                                                 Market          Deals and                  Shoes &                          Smart Home               Stream 4K Video            Smart        Real-Time Crime
                                                 America’s       Shenanigans                Clothing                         Security                 in Every Room              Security     & Safety Alerts
                                                 Healthiest                                                                  Systems                                             for Every
                                                 Grocery Store                                                                                                                   Home

                                                                                            Amazon Subscription              PillPack                 Amazon Renewed
                                                                                            Boxes                            Pharmacy                 Like-new products
                                                                                            Top subscription boxes –         Simplified               you can trust
                                                                                            right to your door



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